Case 2:20-cr-00326-JFW Document 1010-2 Filed 03/20/23 Page 1 of 4 Page ID #:23584




                               Exhibit A
Case 2:20-cr-00326-JFW Document 1010-2 Filed 03/20/23 Page 2 of 4 Page ID #:23585

                    [*DRAFT FOR DISCUSSION PURPOSES ONLY*]

  No.         Witness                        Summary of Testimony                        Direct
                                                                                        Estimate
   1    Robert Goodwin         • Consolidation
        Builder & Consultant   • How Chan improved L.A. City’s service for
                                 projects
                               • Common L.A. City services to assist and guide            1hr
                                 projects (all-hands meetings, inquiries, etc.)
                               • How Chan assisted and guided major projects
                               • Chan’s reputation in the construction industry
   2    Johnny Yutronich       • Consolidation / Bud Ovrom
        Former Inspection
                               • How Chan saved employees’ jobs
        Union President and                                                              1.5hr
                               • Chan’s reputation amongst employees at LADBS
        Former LADBS
        Senior Inspector       • general manager
   3    Larry Galstian         • Consolidation / Bud Ovrom
        Former LA Building     • Relationship between Chan and George Chiang
        Dept. Assistant        • May 2018 meeting with George Chiang and former
        General Manager and      Public Works Commissioner Joel Jacinto
        Former Synergy         • How Chan improved LADBS’ service for projects
        Consultant             • Common L.A. City services re assistance and
                                                                                         1.5hr
                                 guidance of projects (all-hands meetings, inquiries,
                                 etc.)
                               • How Chan assisted and guided small and large
                                 projects
                               • Chan’s reputation amongst employees and as
                               • LADBS general manager
   4    Michael Hunt           • Common L.A. City services re assistance and
        Contractor/Owner         guidance of projects (all-hands meetings, inquiries,
                                 etc.)                                                    1hr
                               • How Chan assisted and guided projects
                               • Chan’s ethics
   5    Bob Stone              • How Chan recruited projects to LA
        Former L.A. Reform     • How Chan improved L.A. City’s service for
        Advisor and Former       projects
        Defense Dept.                                                                     2hr
                               • How Chan assisted and guided small and major
        Director                 projects
                               • Chan’s leadership in LADBS and Mayor’s Office
   6    Lessing Gold
                               • How Chan refused to accept an expensive gift             1hr
        Attorney
   7    Fred Balderrama        • Common L.A. City services re assistance and
        Consultant               guidance of projects (all-hands meetings, inquiries,
                                                                                          1hr
                                 etc.)
                               • How Chan assisted and guided small projects
   8    Kevin Cheng            • Relationship between Chan and his Martial Arts
                                                                                          1hr
                                 students



                                              Ex. A
                                            Page 1 of 3
Case 2:20-cr-00326-JFW Document 1010-2 Filed 03/20/23 Page 3 of 4 Page ID #:23586

                   [*DRAFT FOR DISCUSSION PURPOSES ONLY*]

       Chan’s Martial Arts    • How Chan treated his Martial Arts students
       disciple               • Chan’s generosity and caring attitude
   9   Stephanie Mkhlian      • How Chan assisted and guided projects
       Former LA Mayor’s      • Chan refused to accept an expensive gift
       Office staff and       • Chan’s Ethic and Trustworthiness
       former Synergy Staff   • Relationship between Chan and George Chiang
                              • Hiring and firing of Deron Williams Junior             1.5hr
                              • How Chan helped Andy Wang
                              • Worked with Ave Jacinto to help Andy Wang
                              • Chan’s leadership as Deputy Mayor
                              • Chan’s Generosity and Caring attitude
  10   Rubidium Wu            • How Chan helped Andy Wang to produced
       Movie and                promotional clips for Wang’s products
       Commercial Director    • Worked with Ave Jacinto to help Andy Wang              1hr
       and Chan’s Martial     • How Chan helped people
       Arts Student
  11   Al Hernandez           • How Huizar met Huang
       Former LA Assist.      • Relationship between Chan and George Chiang
       Fire Marshall and      • Working relationship with Fire Dept. Hani Malki
       Former Synergy         • How Chan improved L.A. City’s service for
       Consultant               projects                                               1hr
                              • Common L.A. City services re assistance and
                                guidance of projects (all-hands meetings, inquiries,
                                etc.)
                              • How Chan assisted and guided major projects
  12   Verej Janoyan          • Relationship between Chan and George Chiang
       Former LA DOT          • Chan’s inquiry about travel distance in Mar. 2017
       Div. Chief and         • Chan’s reputation as LADBS general manager             1hr
       Former Synergy
       Consultant
  13   Henry Wang
       Consultant             • How Chan refused to accept an expensive gift           1hr

  14   Jeremy Chan            • Relationship between George Chiang and Jeremy
       Licensed Attorney      • Relationship between George Chiang and Chan
                              • Relationship between Chan and his Martial Arts
                                students
                              • How Chan treated his Martial Arts Students,
                                including George Chiang
                                                                                       2hr
                              • How Jeremy, as a pro bono consultant to George
                                Chiang, helped him with the Luxe Project, land use
                                projects, client’s issues
                              • Involvement with the Luxe Project
                              • Why Chiang gave $15,000 to Jeremy
                              • LA land use regulations and processes



                                             Ex. A
                                           Page 2 of 3
Case 2:20-cr-00326-JFW Document 1010-2 Filed 03/20/23 Page 4 of 4 Page ID #:23587

                  [*DRAFT FOR DISCUSSION PURPOSES ONLY*]

                           • City Ethics Rules - Revolving Door and lifetime
                           • ban
  15   Raymond Chan
                           • All facts and evidence                                  30hr

  16   Farrel Stevins      • How Chan assisted and guided projects
       Contractor/Owner    • Common L.A. City services re assistance and
                                                                                      1hr
                             guidance of projects (all-hands meetings, inquiries,
                             etc.)
  15   Ave Jacinto         • Work Ave Jacinto did for Wang to earn her pay
       Wife of former
       Public Works                                                                   1hr
       Commissioner Joel
       Jacinto
  17   Jeff DiMarzio       • May 4, 2016 meeting with Chan
       Architect for LA    • August 4th meeting in Huizar’s office                    1hr
       Grand Hotel
                                                                                    TOTAL
                                                                                     48.5 hr




                                          Ex. A
                                        Page 3 of 3
